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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8

 9   UNITED STATES OF AMERICA,                            NO. MJ15-51

10                                 Plaintiff,

11          v.                                            DETENTION ORDER
12   CALVIN DEWAYNE DAVIS,
13
                                   Defendant.
14

15   Offenses charged:
16          Counts 1-3:     Bank Fraud
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            Counts 4-6      Aggravated Identity Theft
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     Date of Detention Hearing: February 13, 2015
19          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
20   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
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            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
22
            1.      Defendant has stipulated to detention, but reserves the right to contest his
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     continued detention if there is a change in circumstances.
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            2.      There are no conditions or combination of conditions other than detention that
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     will reasonably assure the appearance of defendant as required or ensure the safety of the
26
     community.

     DETENTION ORDER
     18 U.S.C. § 3142(i)
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 1         IT IS THEREFORE ORDERED:

 2         (1)   Defendant shall be detained and shall be committed to the custody of the

 3               Attorney General for confinement in a correction facility separate, to the extent

 4               practicable, from persons awaiting or serving sentences or being held in custody

 5               pending appeal;

 6         (2)   Defendant shall be afforded reasonable opportunity for private consultation with

 7               counsel;

 8         (3)   On order of a court of the United States or on request of an attorney for the

 9               government, the person in charge of the corrections facility in which defendant

10               is confined shall deliver the defendant to a United States Marshal for the

11               purpose of an appearance in connection with a court proceeding; and

12         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to

13               counsel for the defendant, to the United States Marshal, and to the United States

14               Pretrial Services Officer.

15         DATED this 17th day of February, 2015.

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                                               AJAMES P. DONOHUE
                                                United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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